AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                       Southern      District of       Ohio

                   United States of America                                  )
                                   V.                                        )
                                                                             )     Case No.   NK
                                                                             )
                                                                             )
                                                                             )
                           Alexis LEWIS                                      )
                             Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               12/l 7/2Q.2_Q_ through 06/28/2022       in the county of               Franklin         in the
     Southern            District of               Ohio              , the defendant(s) violated:

             Code Section                                                           Offense Description
Title 21, U.S.C. §§ 841 (a)(l)                 conspiracy to possess and possess with intent to distribute 400 grams or more ofN-phenyl-
841 (b)(1 )(A)( vi), 841 (b )( 1)(A)(iii),     N-[1-(2-phenylethyl)-4-piperidnyl] propanamide, commonly referred to as "fentanyl," 280
84l(b)(l)(C), 84l(b)(l)(A)(i), 846             grams or more of cocaine base, commonly referred to as "crack," and cocaine, schedule II
and 860                                        controlled substances, 100 grams or more of Heroin, a schedule I controlled substance




        This criminal complaint is based on these facts:
See Attached Affidavit




          ~ Continued on the attached sheet.




                                                                                               HSI
                                                                                                      Printed name and title


Sworn to before me and signed in my presence.

                                                                                                      . Va.scura
Date:                                                                                      -.:!:.e s Ma ·strate Judge
                                                                                                        Judge's signature

City and state:         Columbus, Ohio                                                CHELSEY M. VASCURA, U.S. Magistrate Judge
                                                                                                      Printed name and title
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In the matter of:

United States of America                                         NK
                                                     Case No.: _ _  _ _ __
                 v.
Patrick SAULTZ,                                      Judge -7BTDVSB
                                                             ------
Cordell WASHINGTON,,
David PRICE,
Tavaryyuan JOHNSON,
Alexis LEWIS,
Allison SMITH,
Michael FOWLER,
Carmela BROOKS and
Tyler BOURDO




                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Trace S. Way, a Special Agent with Homeland Security Investigations, having been duly
sworn, state the following:
                                      INTRODUCTION

1.     Your Affiant is an investigative or law enforcement officer of the United States, within the
       meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to
       conduct investigations of and to make arrests for offenses enumerated in Section 2516 of
       Title 18, United States Code.

2.     I am a Special Agent with HSI assigned to the Office of the Assistant Special Agent in
       Charge, Columbus, Ohio. I am currently assigned to the Central Ohio Human Trafficking
       Task Force (COHTTF). HSI has employed me since November of 2019. Prior to becoming
       a Special Agent with HSI, I served as a U.S. Border Patrol Agent for approximately two
       years and a Customs and Border Protection Officer for approximately four years; having
       begun my federal law enforcement career in August 2013. As a Special Agent my
       responsibilities and duties include the investigation and enforcement of federal laws and
       regulations related to customs and immigration violations, including but not limited to
       narcotics, financial crimes, fraud, human trafficking, and violations of the Immigration and
       Nationality Act. During my tenure as a Special Agent, I have participated in State and
       Federal investigations involving the illegal possession of firearms and narcotics in
       conjunction with human trafficking and prostitution, human trafficking, and narcotics
       trafficking.



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3.   I have participated in the execution of search warrants and arrests related to the above-
     referenced offenses. I have seized or assisted in seizing contraband and evidence, including
     currency, narcotics, firearms, and documentary evidence, which includes electronically
     stored documents. I have received criminal investigative training, including 26 weeks of
     intensive training at the Federal Law Enforcement Training Center ("FLETC") in Glynco,
     Georgia. This training included instruction on the methods used by criminals to violate the
     laws of the United States and evade detection by law enforcement. I have had formal and
     on-the-job training in matters involving human trafficking and narcotics trafficking from
     instructors, supervisors, and colleagues. I have been personally involved in investigations
     concerning the possession, manufacture, transportation, distribution, and importation of
     controlled substances, as well as methods used to finance drug transactions. I am
     knowledgeable in the enforcement of state and federal laws pertaining to narcotics and
     dangerous drugs.


                                   PURPOSE OF AFFIDAVIT

4.   This affidavit is made in support of an application for a federal arrest warrant and criminal
     complaint against defendants PATRICK SAULTZ, CORDELL WASHINGTON,
     TYLER BOURDO, DAVID PRICE, TAVARYYAN JOHNSON, ALEXIS LEWIS,
     ALLISON SMITH, MICHAEL FOWLER AND CARMELA BROOKS, hereinafter
     referred to as the TARGET SUBJECTS, for unlawfully possessing with intent to
     distribute 400 grams or more of N-phenyl-N-[1-(2-phenylethyl)-4-piperidnyl]
     propanamide, commonly referred to as "fentanyl," 280 grams or more of cocaine base,
     commonly referred to as "crack," and cocaine, schedule II controlled substances, 100
     grams or more of Heroin, a schedule I controlled substance, in violation of Title 21, U .S.C.
     §§ 84 l(a)(l), 841 (b)(1 )(A)(vi), 841 (b)(l)(A)(iii), 84 lb)(1 )(C), 84 l(b)(1 )(A)(i) and 846.
     My knowledge of this investigation is based upon my own personal observations, as well
     as the observations and investigation conducted by other law enforcement officers
     knowledgeable of the facts and circumstances involved in the subject investigation. I have
     not included in this Affidavit all the facts known to me, but only that information sufficient
     to establish probable cause to believe that the Defendants committed violations of Title 21,
     U.S.C. §§ 841 (a)(l) 841(b)(l)(A)(vi), 841(b)(l)(A)(iii), 841(b)(l)(C), 841(b)(l)(A)(i) and
     846.


                               SUMMARY OF PROBABLE CAUSE


5.   On September 4, 2020, CPD officers conducted a traffic stop on Tavaryyuan JOHNSON
     who was subsequently placed under arrest for driving under suspension. During a search
     of JOHNSO N's person, Columbus Division of Police (CPD) recovered a total of$3, 156.38
     from JOHNSON's left front pocket. The money was in several small bundles of small
     denominations which your affiant knows to be consistent with how money is collected by
     those engaging in illegal narcotics transactions. CPD officers also recovered 273 .3 grams
     of heroin and 312.2 grams of crack cocaine which was concealed in a panel in the center
     console of the vehicle JOHNSON had been driving and owned. JOHNSON requested an

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     attorney upon CPD' s attempt to interview him. Further investigation revealed that
     JOHNSON is part of a DTO that is run by WASHINGTON and SAUL TZ.

6.   On December 17, 2020, a CPD Narcotics confidential source (CS 1) purchased
     approximately 0.1 of a gram of crack cocaine with Official Advanced Funds provided by
     CPD to CS 1, often referred to as "buy money". More specifically, CS 1 purchased this
     crack cocaine from a male inside 715 South Burgess Avenue, in Columbus, Ohio 43223.
     CS 1 gave a description of the individual he/she purchased the crack cocaine from as a
     black male in his mid-30's, wearing a red and black sweat suit. Shortly after CS 1 exited
     the 715 S. Burgess address, CPD Narcotics detectives executed a search warrant at the
     location. Recovered at that address was approximately 109 .665 grams of crack cocaine,
     115.987 grams of powder cocaine, 7.979 grams offentanyl, 7.071 grams of heroin, and 4.5
     pounds of marijuana. WASHINGTON was located inside the address wearing a red and
     black sweat suit, matching the description provided by CS 1. CPD officers also noted that
     no one else inside the residence matched the description from CS 1. In addition to the
     narcotics recovered inside the residence, $983.00 was recovered from WASHINGTON's
     right front pants pocket. Also, located inside the residence was a High Standard .22 caliber
     handgun loaded with ten live rounds, a Ruger LC9S 9mm handgun loaded with nine live
     rounds, one set soft body armor, one set rifle plate body armor, $5,295.00 cash in small
     denominations which were consistent with drug trafficking and $20.00 of Official
     Advanced Funds or "buy money". WASHINGTON was given his Miranda warnings on
     scene which he waived, agreeing to speak with law enforcement. WASHING TON stated
     that he was at the house playing cards and did not reside there. WASHINGTON stated he
     did not know anything about the guns, drugs or paraphernalia that was recovered, even
     after being confronted with all the above items being around the house in plain view. When
     law enforcement asked WASHINGTON why a cellphone in a case containing his Ohio
     driver's license was found next to suspected drugs and digital scales in the kitchen, he
     stated he did not know. WASHINGTON then refused to answer additional questions and
     was not arrested for any offenses at that time. WASHINGTON was not-charged at this
     time in order for the investigation into this DTO to continue.

7.   On August 3, 2021, a search warrant for the address 139 South Princeton Avenue
     Columbus, Ohio, was obtained from Franklin County. That same day, the search warrant
     was executed and proof of residence in the form of mail was recovered indicating that
     PRICE had been residing there. Upon executing the search warrant, PRICE was present
     at the address. Approximately 80.62 grams of cocaine, 28 grams of fentanyl, three
     milligrams of Xanax, three firearms, and $9,701.00 in United States currency. Law
     enforcement also located a notebook piece of paper from the dining room table with the
     phone number (614) 735-6837 in large black writing. This was the same phone number
     BURRIS had provided law enforcement as it related to the contact number for buying
     drugs from the DTO. After PRICE was advised of his Miranda warnings, he waived and
     agreed to speak with CPD. PRICE informed investigators that he had been was visiting a
     friend at 139 South Princeton Avenue prior to the execution of the search warrant. PRICE
     also advised that he did not live at 139 South Princeton and had no belongings there.




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8.    On or about September 5, 2021, investigators utilized a confidential informant (CI) to
      conduct a buy of approximately 2.8 grams of narcotics. The CI purchased the illegal
      drugs from BOURDO and Hunt at 90 North Warren Avenue, Columbus, Ohio. The
      narcotics field tested positive for fentanyl and cocaine.

9.    As this investigation progressed, investigators identified a residence at 90 North Warren
      Avenue in Columbus, Ohio as a location associated to this drug trafficking organization
      (DTO). On or about September 16, 2021, law enforcement obtained a residential search
      warrant for the 90 North Warren address and the following day, the search warrant was
      executed. At the time of the execution, a total of 16 individuals were located inside the
      residence at 90 North Warren Avenue, law enforcement recovered approximately 39 grams
      of cocaine, 80 grams of fentanyl, one firearm and $3,000.00 in United States currency in
      small denominations consistent with drug trafficking and payments for small amounts of
      drugs. None of the above noted individuals made any statements at the time the search
      warrant was executed.

10.   On or about September 21, 2021, an officer with CPD met with a cooperative source related
      to the DTO (herein, identified as CS 2). CS 2 slated the residence of 90 North Warren is
      currently being controlled by narcotic traffickers operating out of the residence. CS 2
      stated that "Cam" (Robert Tinsley 111), "Ang" (Angela Hunt), Darrell Fields, and Tyler
      BOURDO oversaw the day-to-day narcotics trafficking at the residence. CS 2 stated that
      BOURDO supplied the house with narcotics and that he was in charge of picking up the
      money from the lower-level drug dealers related to this DTO. CS 2 stated the drugs were
      being supplied by Patrick SAULTZ and David PRICE.

11.   On January 14, 2022, investigators were conducting surveillance in the area of 559 South
      Burgess Ave when they observed a vehicle pull park in front of the address and identified
      Alexis LEWIS as being the passenger of the vehicle. Upon exiting the vehicle, law
      enforcement observed LEWIS meet up with WASHING TON on the porch of 559 South
      Burgess Ave at which point, both LEWIS and WASHINGTON entered the residence.

12.   Surveillance then observed LEWIS exiting the address approximately 15 minutes later
      and reentering the passenger seat of the vehicle she arrived at the address in. CPD
      initiated a traffic stop on the vehicle and arrested LEWIS for an active warrant she had.
      At the time, nothing was recovered on her person. After her arrest, LEWIS requested a
      meeting with law enforcement. After receiving her Miranda warnings, LEWIS began
      discussing her boyfriend "Pat," believed by you affiant to be a reference to Patrick
      SAUL TZ and stated that he was a good person but is selling marijuana. LEWIS refused,
      to give "Pats" full name and reiterated again that "Pat" just sells marijuana. LEWIS did
      not provide any information in regards to the illegal activity being conducted by this
      DTO.

13.   The following day, Alexis LEWIS overdosed on narcotics within the Franklin County
      jail and was administered Narcan to counteract the drugs she had taken. LEWIS was then
      transported to the hospital for follow-up treatment related to her drug use. Upon her
      release on January 17, 2022 from the hospital, LEWIS was transported back to the


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      Franklin County Jail. After arriving at the jail again, LEWIS had an x-ray scan
      completed of her person which revealed LEWIS still had contraband on her person.
      Subsequently, a plastic baggie containing a pink and red substance was recovered in
      LEWIS's underwear. The substance was suspected to be fentanyl. LEWIS made
      admissions to concealing the contraband in her vagina upon being arrested on January 14,
      2022.

14.   On January 27, 2022, a federal search warrant was obtained for the cell phone seized
      from LEWIS upon her January 14, 2022, arrest. A subsequent extraction of the cell
      phone revealed numerous messages between LEWIS and other defendants, including but
      not limited to WASHINGTON, BOURDO, and PRICE. Law enforcement noted that in
      some of the text messages from LEWIS to WASHINGTON, LEWIS had been
      requesting WASHINGTON provide her with drugs.

15.   On February 13, 2022, investigators monitored another recorded jail call from LEWIS to
      SAULTZ. This call was placed from the Franklin County, Ohio jail where LEWIS had
      been held. This call was monitored and recorded and LEWIS was informed as such.
      During the call, LEWIS asked SAULTZ who he had over at the house and SAULTZ
      responded "nobody." LEWIS stated, "I hope you've got gloves on" to which SAULTZ
      responded "I don't". LEWIS then became upset and responded, "umm when you're doing
      yardwork". SAULTZ then told LEWIS "I'm gonna drink water and stay away from this
      shit for the next 9 days", to which LEWIS responded by calling SAULTZ a liar, stating
      "what do you think you're gonna get CBCF again?" LEWIS then stated to SAUL TZ that
      he is "doing the same dumb ass shit". Based upon my training and experience,
      conversational context clues, and case background information, your affiant believes
      "yardwork" is code for handling, cutting, or distributing fentanyl and other illicit drugs.
      The investigation further revealed that during a routine drug test for his probation,
      SAULTZ tested positive for fentanyl on February 22, 2022. This positive test for
      fentanyl was nine days after SAUL TZ's conversation with LEWIS as noted above,
      further corroborating that "yardwork" was, in fact, a reference to handling fentanyl.

16.   On May 4, 2022, investigators observed a blue Jeep Cherokee park in front of 559 South
      Burgess Ave. Unknown individuals, hereinafter identified as CS 3 and CS 4, exited the
      Cherokee, approached the porch of the residence, and were greeted from the front door of
      the residence by Allison SMITH. CS 3 then entered the South Burgess address with
      SMITH and stayed inside for approximately six minutes. Upon exiting, CS 3 returned to
      the Jeep Cherokee where CI 4 was then observed exiting from the driver's seat. CS 4 began
      unloading items from the Jeep Cherokee and CS 3 and CS 4 carried approximately five
      items into the South Burgess residence through the front door. CS 4 was seen exiting the
      residence carrying two small orange or red boxes and investigators observed CS 4 placing
      those boxes into the rear of the Jeep Cherokee. At that time, SMITH and CS 3 were still
      inside the residence. SMITH and CS 3 then exited 559 South Burgess Ave, conversed
      outside, and then entered their separate vehicles. CS 3 and CS 4 were then observed driving
      away from 559 South Burgess and law enforcement began to follow their vehicle for
      investigative purposes.



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17.    Physical surveillance revealed that CS 3 and CS 4 drove to Lancaster, Ohio, stopped at
       multiple stores there, and stayed in Lancaster for multiple hours. For example, CS 3 and
       CS 4 entered and exited numerous retail stores such as Walmart, Kroger, and Target over
       the course of six hours. It is your affiant's belief that during this time period, CS 3 and CS
       4 were stealing merchandise from the stores they entered and this was later confirmed by
       CS 4. Later in the day, CS 3 and CS 4 drove back in the direction of Columbus, Ohio. A
       traffic stop was then initiated by CPD at approximately 8:25PM. During the traffic stop,
       CPD officers observed drug paraphernalia in plain view. CS 3 and CS 4 were both detained.


18.    During a subsequent search of the vehicle, CPD officers found suspected crystal
       methamphetamine and suspected fentanyl. The suspected narcotics were contained within
       multi-colored containers and drug paraphernalia was scattered throughout the vehicle. CS
       3 agreed to speak with law enforcement and after receiving his/her Miranda warnings, CS
       3 admitted to being a drug addict and indicated that when he/she lived in Columbus, he/she
       established a drug connection with a group of individuals that he/she will only purchase
       drugs from this group. CS 3 indicated that he/she has purchased drugs from the location
       of 559 S. Burgess in the past.

19.    The residence located at 559 S. Burgess is within one thousand feet of the real property of
       a public school, to wit: Burroughs Elementary.

20.    According to CS 3, on that day, May 4, 2022, he/she had purchased the above drugs from
       "Alli" (Allison SMITH) at a location on South Burgess and that "Alli" doesn't own the
       house but just sells for the people who are in charge. CS 3 further identified the location of
       559 South Burgess as the address CS 3 brought drugs from that day and indicated that this
       group sells drugs from multiple locations and that the police have "hit" several of their
       drug houses

21 .   An interview of CS 4 was also completed during which, law enforcement noted that he/she
       had no relevant information related to this DTO. Both CS 3 and CS 4 were released
       pending a lab analysis of the seized suspect narcotics.

22.    A laboratory analysis was conducted as to the items seized from CS 3 which were
       purchased from SMITH on May 4, 2022. The laboratory report found that the suspected
       methamphetamine was in fact 6.108 grams of methamphetamine and the suspected
       fentanyl was in fact .418 grams of fentanyl and 1.466 grams of a fentanyl and cocaine
       mixture.

23.    On June 22, 2022, Michael FOWLER called the telephone line being utilized by Patrick
       SAUL TZ. In this call, FOWLER tells SAULTZ's "I can come down tomorrow do what
       I did last time" and SAULTZ replies "yep". SAUL TZ then asks "what the a ... what did
       you do"? Michael FOWLER responded "15". SAULTZ then states that he'll make sure
       "bro" when you get down here.




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24.    Through law enforcement and open source databases, investigators determined Michael
       FOWLER was the primary possessor of the phone line used to communicate with
       SAUL TZ. Law enforcement also determined FOWLER to be a residing in Canton, Ohio.
       This would corroborate the context in the mentioned call when stating he was coming down
       tomorrow.


25 .   On June 23, 2022, pursuant to a Court Ordered wiretap, law enforcement intercepted a call
       on the cellular phone used by Cordell WASHINGTON. Patrick SAULTZ called the
       telephone line being utilized by Cordell WASHINGTON. In this call, SAUL TZ informed
       WASHINGTON that Mike is coming down today and wants to "Jump into the same
       situation". SAULTZ states "That's cool. I just wanna make sure there is enough" and
       WASHINGTON replies "yeah".


26.    Through training, experience and case background information, your affiant believes the
       context of the mentioned calls in indicative of a significant drug transaction that is going
       to occur. Later in the day, at approximately 4:30PM, surveillance officers observed a blue
       SUV arrive at the residence of 559 S. Burgess Ave. This residence at 559 S Burgess is
       within 1,000 feet of the real property of a Columbus Public School, that is, Burroughs
       Elementary. The passenger of that vehicle matched the description of Michael FOWLER.
       FOWLER was then observed walking inside the residence of 559 S. Burgess Ave where
       Cordell WASHINGTON was already at. At 5:46PM, electronic surveillance showed
       FOWLER and WASHINGTON exiting from 559 S. Burgess and walk toward the car
       FOWLER arrived in. It is worth noting, when WASHING TON exited from the
       residence, surveillance observed a large object being concealed in his left front waistband.
       As the two approached the mentioned vehicle, surveillance observed the back hatch of the
       SUV open. Surveillance showed FOWLER stuffing something, which was later
       determined to be 9 ounces of fentanyl, or approximately 235 grams, in the rear
       compartment of the vehicle. As FOWLER and WASHINGTON walked away from the
       vehicle, the object that was in WASHINGTON waistband was no longer there.
       Investigators believe WASHINGTON handed FOWLER contraband and FOWLER
       concealed it in the back of the vehicle.

27.    After this transaction was complete, FOWLER got back into the passenger side of the
       vehicle where he and the driver pulled away. Subsequently, Ohio State Highway Patrol
       initiated a traffic stop on the vehicle for a multiple traffic violations. Due to the smell of
       raw marijuana, Ohio State Highway Patrol searched the vehicle where they located the 9
       ounces or approximately 235 grams offentanyl.


28.    Ohio State Highway Patrolman read BROOKS and FOWLER their Miranda Warning, in
       which they waived and agreed to speak with law enforcement. Carmela BROOKS told
       law enforcement the drugs recovered from the vehicle were hers and that it was cocaine.
       Additionally, BROOKS told law enforcement the cocaine is for personal use.

29.    Later, pursuant to a Court Ordered wiretap, law enforcement intercepted a call from
       Michael FOWLER to the telephone line that was being used by SAUL TZ. FOWLER

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      told SAULTZ the drugs were intercepted. In that call, FOWLER asks SAULTZ for help
      with an attorney. SAULTZ told FOWLER he would and asks FOWLER if he wanted to
      come back to Columbus. FOWLER told SAULTZ that he didn't know ifhe had enough
      money and SAUL TZ said they would work it out.


30.    After this event took place, investigators monitored several other phone calls and text
       messages throughout the next day between FOWLER and SAUL TZ. In those messages
       SAUL TZ and FOWLER line up another transaction which instigators believed to be
      .fentanyl.


31.   On June 26, 2022, your affiant observed through electronic surveillance SAULTZ exit
      from the residence of 559 S. Burgess Ave wearing purple gloves. SAUL TZ was then seen
      entering the driver's side of a silver Chevrolet Impala that was parked in the drive way.
      Investigators are familiar with this vehicle be the primary means of transportation for
      TARGET SUBJECT, Allison SMITH. Surveillance observed SAULTZ hide what is
      now determined to be approximately one-half pound, or approximately 235 grams of
      fentanyl inside the vehicle. Per intercepted wire communications, SAUL TZ planned to
      follow the Impala, driven by associates of this DTO, to Akron, Ohio in his black BMW
      750i. At approximately 4:45PM, investigators observed the said Chevrolet Impala leave
      559 S. Burgess being followed by SAULTZ in his black BMW 750i (Ohio temporary tag
      0031151 ). It is also with noting that LEWIS was riding with SAUL TZ in the passenger
      seat. Through case background information, investigators are familiar with members of
      this DTO deploying several counter surveillance methods. Your affiant, believes by
      LEWIS riding passenger, she is serving as a lookout and diversion so that SAUL TZ was
      not travelling alone. Investigators followed SAULTZ, LEWIS and the Impala as it
      traveled north bound on 1-71 as it heading toward Canton, Ohio. At approximately
      5 :20PM, Ohio State Highway Patrol intercepted and initiated a traffic stop on the vehicle
      for an equipment violation, where the driver was later found to be operating without a
      license. A subsequent search of the Impala was conducted and approximately one-half
      pound of fentanyl hidden by SAUL TZ was recovered.

32.   Throughout this investigation, your affiant has seen LEWIS on a consistent bases
      accompanying SAULTZ as he's conducting illicit activity. Surveillance has shown
      LEWIS carrying large, medium and small bags into and out of the distribution house
      located at 559 S. Burgess Ave. Through case background information, your affiant
      believes LEWIS to be a drug and money courier for this DTO.


                                            CONCLUSION

33.   Based upon the information presented in this affidavit, there is probable cause to believe
      that, within the Southern District of Ohio, the defendants, PATRICK SAUL TZ,
      CORDELL WASHINGTON, TYLER BOURDO, DAVID PRICE, TAVARYYAN
      JOHNSON, ALEXIS LEWIS, ALLISON SMITH, MICHAEL FOWLER AND
      CARMELA BROOKS, did knowingly and unlawfully possess and conspire to possess

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       with intent to distribute 400 grams or more of N-phenyl-N-[1-(2-phenylethyl)-4-
       piperidnyl] propanamide, commonly referred to as "fentanyl," 280 grams or more of
       cocaine base, commonly referred to as "crack," and cocaine, schedule II controlled
       substances, 100 grams or more of Heroin, a schedule I controlled substance, in violation of
       Title 21, U.S.C. §§ 841 (a)(l) 84l(b)(l)(A)(vi), 841(b)(l)(A)(iii), 841(b)(l)(C),
       841(b)(l)(A)(i), 846 and 860.



                                                            Tr                    Agent
                                                                                nvestigations


Sworn to and subscribed before me this 28 th day of June.




Chelsey M Vascura
United Stat s Magistrate Judge
United States District Court
Southern District of Ohio




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